      Case 1:10-cr-00004-JL   Document 21   Filed 03/02/10   Page 1 of 6




                UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                 Criminal No. 10-cr–004-02-JL

Eric Mckinstrie


                  ORDER OF DETENTION PENDING TRIAL


     In accordance with Section 3142(f) of the Bail Reform Act,

18 U.S.C. §§ 3141 et seq., a hearing was conducted on March 2,

2010, for the purpose of determining whether to detain defendant,

Eric Mckinstrie, who has been indicted on one (1) count of

Conspiracy to Distribute Oxycodone in violation of 21 U.S.C. §

846, five (5) counts of Distribution of Oxycodone in violation of

21 U.S.C. § 846(a)(1), and one (1) count of Distribution of

Cocaine in violation of 21 U.S.C. § 846(a)(1).

     Under 18 U.S.C. § 3142(b), a court, in making a

determination regarding detention, must evaluate the risk of the

defendant’s flight, the risk to the safety of any other person,

and the risk to the safety of the community.           In circumstances

when detention is not mandated by the court, the court is

nonetheless empowered to impose conditions on release.              18 U.S.C.

§ 3142(c).
      Case 1:10-cr-00004-JL   Document 21   Filed 03/02/10   Page 2 of 6




     Pursuant to the provisions of 18 U.S.C. § 3142(g) a court,

in assessing the risks noted in 18 U.S.C. § 3142(b), shall

consider the following: (1) the nature and circumstances of the

offense charged; (2) the weight of the evidence as to guilt;

(3) the history and characteristics of the accused, including

family ties, past history, financial resources and employment;

and (4) the nature and seriousness of the danger to any person or

the community that would be posed by a release.

     During the course of a hearing conducted pursuant to 18

U.S.C. § 3142, the government typically retains the burden of

persuading the court that “‘no condition or combination of

conditions will reasonably assure’ the defendant’s presence at

trial.”   United States v. Perez-Franco, 839 F.2d 867, 870 (1st

Cir. 1988)(quoting United States v. Palmer-Contreras, 835 F.2d

15, 17-18 (1st Cir. 1987)); United States v. Patriarca, 948 F.2d

789, 793 (1st Cir. 1991).      For its part, the government is

required to offer clear and convincing evidence of dangerousness;

and a preponderance of the evidence to prove risk of flight.               See

Patriarca, 948 F.2d at 792-93.       Facts necessary to find that no

combination will reasonably assure the safety of any person and



                                     2
      Case 1:10-cr-00004-JL   Document 21   Filed 03/02/10   Page 3 of 6




the community require satisfaction of the “clear and convincing”

standard.   18 U.S.C. § 3142(f)(2).

     In specific instances, delineated in 18 U.S.C. § 3142(e), a

presumption arises that no condition or combination of conditions

will reasonably assure the appearance of a defendant and the

safety of the community.      Among the instances where a presumption

arises is the situation where,

     the judicial officer finds that there is probable cause to
     believe that the person committed an offense for which a
     maximum term of imprisonment of ten years or more is
     prescribed in the Controlled Substances Act (21 U.S.C. 801
     et seq) . . . .

18 U.S.C. § 3142(e)(3)(A).

     In the case at hand, the indictment itself establishes

probable cause to believe that the offenses charged have been

committed and that the defendant has committed them.             Further,

the offenses charged against defendant are ones for which a

maximum term of imprisonment is ten years or more, as prescribed

in the Controlled Substances Act, 21 U.S.C. §§ 801 et seq.                 See

United States v. Dillon, 938 F.2d 1412, 1417 (1st Cir. 1991).

Thus, Section 3142(e)’s rebuttable presumption that “no condition

or combination of conditions will reasonably assure [defendant’s]



                                     3
      Case 1:10-cr-00004-JL   Document 21   Filed 03/02/10   Page 4 of 6




appearance . . . and the safety of the community . . .” is

triggered in this case.       See 18 U.S.C. § 3142(e), (f); 21 U.S.C.

§ 841(b)(1)(C); see also United States v. Vargas, 804 F.2d 157,

162-63 (1st Cir. 1986).

     In order to counter the statutory presumption, the defendant

must present evidence which demonstrates that “what is true in

general is not true in [his] particular case.”           United States v.

Jessup, 757 F.2d 378, 384 (1st Cir. 1985).          Notably, as noted by

the defendant, the burden is one of production, not of

persuasion.   Id. at 380-81.

     Here, I find that the defendant fails to rebut the

presumption with regard to risk of flight and danger to the

community.    Specifically, the weight of the evidence is

overwhelming.    The nature of the offense involves the

distribution of a controlled substance on multiple occasions over

a period of months.     The defendant has three (3) prior state

court drug offense convictions, two (2) involving the sale of a

controlled drug, and state court violations of probation and

parole for using controlled substances and/or alcohol.              The

pretrial services report documents extensive drug and alcohol use



                                     4
         Case 1:10-cr-00004-JL   Document 21   Filed 03/02/10   Page 5 of 6




over a period of many years, including following his successful

completion of Summit House in 1995, which at least continued into

2009.     He has not had employment for almost 8 months, had only

sporadic employment in prior years, and currently has a suspended

drivers license impeding future employment opportunities.                     While

the defendant is a lifelong resident of New Hampshire and has

proposed what appears to be a responsible third party custodian,

those facts do not overcome the statutory presumption in this

case.     Additionally, separate and apart from the presumption

imposed in this case by 18 U.S.C. § 3142(e)(3)(A), I find based

on the representations offered during the hearing that no

condition or combination of conditions will reasonably assure the

defendant poses no serious risk of flight or danger to the

community.

        Accordingly, for the reasons stated herein and developed on

the record during the hearing, it is ORDERED that the defendant

be detained pending trial.

        The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from


                                        5
         Case 1:10-cr-00004-JL   Document 21   Filed 03/02/10   Page 6 of 6




persons awaiting or serving sentences or being held in custody

pending appeal.       The defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel.                    On

order of a court of the United States or on request of an

attorney for the Government, the person in charge of the

corrections facility shall deliver the defendant to the United

States Marshal for the purpose of an appearance in connection

with a court proceeding.

        SO ORDERED.

                                            /s/ Daniel J. Lynch
                                            Daniel J. Lynch
                                            United States Magistrate Judge

Date:     March 2, 2010

cc:       William E. Morse
          Brian M. Quirk, Esq,
          U.S. Marshal
          U.S. Probation




                                        6
